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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

TRAXXAS, L.P.                                    §
                                                 §
                       Plaintiff,                §
                                                 §
v.                                               §     CIVIL ACTION NO. 3:08-CV-1702-O
                                                 §
OFNA-D&S CORP, and                               §
OFNA RACING                                      §
                                                 §
                       Defendants.               §

                                        Order of Dismissal

       Plaintiff, Traxxas, has filed a motion of dismissal based on the terms of an agreement

between the parties expressed in a Settlement Agreement on file with the Court in which the

parties agree that the Court shall retain jurisdiction to enforce the Settlement Agreement. The

Court GRANTS the motion; and

       ORDERS that this action be and is hereby dismissed and the Court shall retain

jurisdiction over the parties and the subject matter of this action to enforce the Settlement

Agreement.

       Each party shall bear his own attorneys fees.

       SINGED this 13th day of February, 2009.



                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE
